Case 2:20-cv-11181-CAS-JPR Document 87-1 Filed 06/22/22 Page 1 of 2 Page ID #:1695




    1
    2
    3
    4
    5                       UNITED STATES DISTRICT COURT
    6                     CENTRAL DISTRICT OF CALIFORNIA
    7
    8 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
    9
                                               [PROPOSED] ORDER
   10              Plaintiff,                  CONTINUING STATUS
                                               CONFERENCE
   11
             v.
   12
      INTERFOCUS, INC. d.b.a.                  The Hon. Christina A. Snyder
   13
      www.patpat.com, a Delaware
   14 Corporation; CAN WANG, and
      individual, and DOES 1-10, inclusive.,
   15
   16              Defendants.
   17
   18 INTERFOCUS, INC. d.b.a.
   19 www.patpat.com, a Delaware
      Corporation; CAN WANG, an
   20 individual, and DOES 1-10, inclusive,
   21
                   Counterclaim Plaintiffs,
   22
   23        v.

   24 NEMAN BROTHERS & ASSOC.,
   25 INC., a California Corporation,
   26              Counterclaim Defendant.
   27
   28
           [PROPOSED] ORDER CONTINUING LIMITED DISCOVERY PERIOD AND STATUS
                                     CONFERENCE
Case 2:20-cv-11181-CAS-JPR Document 87-1 Filed 06/22/22 Page 2 of 2 Page ID #:1696




    1        The Court having considered the Joint application to continue the period for
    2 limited discovery and the Status Conference previously noticed for July 11, 2022,
    3 and being fully advised in the premises,
    4        IT IS ORDERED that the status conference previously ordered in this action
    5 to take place on July 11, 2022 at 11:00 a.m. is continued to August 15, 2022 at
    6 11:00 a.m. The time in which Defendants may conduct limited discovery previously
    7 authorized by the Court and currently pending between the parties is concurrently
    8 continued to August 15, 2022.
    9
   10 Dated:                                 ________________________________
                                             The Honorable Christina A. Snyder
   11
                                             United States District Judge
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                 1
           [PROPOSED] ORDER CONTINUING LIMITED DISCOVERY PERIOD AND STATUS
                                     CONFERENCE
